
PER CURIAM.
The court have inspected the return, and the reasons for the Certiorari which are in substance. Is# That the book offered in evidence by Harvey the plaintiff below, was erased and altered throughout. %nd It was not proved to be Harvey’s account book. Sd. Because a paper prepared after the jury had been sworn, and containing additional charges was handed to them.
From the evidence it appears that some alterations or erasures existed in Harvey's book; but there is no proof that they were discoverable throughout, or were sufficient to destroy its competency. Objections of this kind go to the credibility only of the testimony, and in our opinion, of this the jury are the proper judges. The book went to them with observations upon this point, so that they had the whole question fairly before them; and when this is the case, we do not think ourselves warranted in interfering with their verdict. The other grounds are not sufficiently proved to authorise us to set aside the judgment.
Judgment affirmed.
